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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

   

 

 

UNITED STATES OF AMERICA,
—_ Case No. 19-CR-3230-JM-1
Plaintiff,
VS. |
JUDGMENT OF DISMISSA “
FERNANDO DENOGEAN (1) | UP A lee Noe ta
Defendant. | | |
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IT APPEARING that the defendant is now entitled to be discharged |for_the reason-that:

an indictment has been filed in another case against the defendant and the Court has
granted the motion of the Government for dismissal of this case, without prejudice; or

the Court has dismissed the case for unnecessary delay; or
the Court has granted the motion of the Government for dismissal, without prejudice; or
the Court has granted the motion of the defendant for a judgment of acquittal; or

a jury has been waived, and the Court has found the defendant not guilty; or

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the jury has returned its verdict, finding the defendant not guilty;

x

of the offense(s) as charged in the Indictment/Information:

Ct 1 - 21:952, 960 - Importation of a Controlled Substance (Felony)

 

 

i.

Dated: _ 10/14/2020 AY—

Hon. Andrew 'G. Schopler
. United States Magistrate Judge

 

 
